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                          IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    WHITE EAGLE ASSET PORTFOLIO, LP, et al.,1                           Case No. 18-12808 (KG)
                                                                    )
                                                                    )   Jointly Administered
                                      Debtors.                      )
                                                                    )   Related to Docket No. 360, 358

            ORDER GRANTING MOTION OF THE DEBTORS TO SHORTEN
       NOTICE PERIOD AND SCHEDULE EXPEDITED HEARING ON DEBTORS’
      MOTION FOR ENTRY OF AN ORDER (A) AUTHORIZING THE SALE OF THE
         MAJORITY EQUITY INTERESTS IN DEBTORS WHITE EAGLE ASSET
      PORTFOLIO, LP AND WHITE EAGLE GENERAL PARTNER, LLC FREE AND
       CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS,
        (B) AUTHORIZING ASSUMPTION AND PAYMENT OF LIABILITIES OF
        WHITE EAGLE ASSET PORTFOLIO, LP AND WHITE EAGLE GENERAL
      PARTNER, LLC BY DEBTOR LAMINGTON ROAD DESIGNATED ACTIVITY
         COMPANY; (C) APPROVING BID PROTECTIONS IN FAVOR OF THE
       PURCHASER SUPPORT PARTIES, (D) GRANTING THE BUYER AND THE
        PUCHASER SUPPORT PARTIES THE PROTECTIONS AFFORDED TO A
         GOOD FAITH PURCHASER, AND (E) GRANTING RELATED RELIEF

                  Upon consideration of the motion (the “Motion to Shorten”)2 for entry of an order

shortening the notice period and scheduling an expedited hearing on the Debtors’ Motion for

Entry of an Order (A) Authorizing the Sale of the Majority Equity Interests in Debtors White

Eagle Asset Portfolio, LP and White Eagle General Partner, LLC Free and Clear of Liens,

Claims, Encumbrances, and Other Interests, (B) Authorizing Assumption and Payment of

Liabilities of White Eagle Asset Portfolio, LP and White Eagle General Partner, LLC by Debtor



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: White Eagle Asset Portfolio, LP (0691); White Eagle General Partner, LLC (8312); and
Lamington Road Designated Activity Company (7738). The location of the Debtors’ service address in these
chapter 11 cases is 5355 Town Center Road, Suite 701, Boca Raton, FL 33486.
2
  Capitalized terms not defined herein shall have the meanings attributed in the Motion to Shorten or the Motion, as
applicable.
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Lamington Road Designated Activity Company, (C) Approving Bid Protections in Favor of the

Purchaser Support Parties, (D) Granting the Buyer and the Purchaser Support Parties the

Protections Afforded to a Good Faith Purchaser, and (E) Granting Related Relief (the “Motion”)

filed by the above-captioned debtors (collectively, the “Debtors”); and the Court having

determined after due deliberation that the legal and factual bases set forth in the Motion to

Shorten establish just cause for the relief granted herein; and the Court finding that (a) the Court

has jurisdiction for a hearing pursuant to 28 U.S.C. §§ 157 and 1334, (b) the Motion to Shorten is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and (c) venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and notice of the Motion to Shorten being adequate and sufficient; and

after due deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.    The Motion to Shorten is GRANTED.

         2.    A hearing to consider the relief requested in the Motion shall be held on July 17,

2019, at 2:00 p.m. (prevailing Eastern time).

         3.    The deadline to respond or object to the relief requested in the Motion is July 16,

2019, at 5:00 p.m. (prevailing Eastern time).

         4.    This Court shall retain jurisdiction to enforce and interpret the provisions of this

Order.




      Dated: July 11th, 2019                     KEVIN GROSS
      Wilmington, Delaware                       2
                                                 UNITED STATES BANKRUPTCY JUDGE
